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 4
 5   Attorney for Defendant, BOUAVONE KEOMOUNEPANE
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 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                      )        CASE NUMBER: 1:07–CR-00268-OWW
11                                                  )
                            Plaintiff,              )        STIPULATION AND ORDER TO
12                                                  )        CONTINUE SENTENCING
     v.                                             )
13                                                  )        Date:      Tuesday, January 19, 2010
     BOUAVONE KEOMOUNEPANE,                         )        Time:      9:00 a.m.
14                                                  )        Courtroom: Honorable Oliver W. Wanger
                            Defendant.              )
15                                                  )
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             IT IS HEREBY STIPULATED by and between plaintiffs, the United States of America, and
17
     the defendants by and through their respective attorneys, that the time set for the Sentencing hearing
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     set for Tuesday, January 19, 2010 at 9:00 a.m. be moved to Monday, February 22, 2010 at 9:00 a.m.
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     as defendants safety valve interview has yet to be conducted.
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                                                          Respectfully submitted,
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22
     DATED: January 14, 2010                              /s/ Roger K. Litman
23                                                        ROGER LITMAN
                                                          Attorney for Defendant,
24                                                        BOUAVONE KEOMOUNEPANE
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     ///
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        Case 1:07-cr-00268-AWI Document 273 Filed 01/15/10 Page 2 of 2


 1
 2   DATED: January 14, 2010                             /s/ Laural J. Montoya
                                                         LAURAL J. MONTOYA
 3                                                       Assistant United States Attorney
 4
 5
 6   IT IS SO ORDERED.
 7   Dated: January 14, 2010                             /s/ Oliver W. Wanger
     emm0d6                                         UNITED STATES DISTRICT JUDGE
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     U.S. v. bouavone keomounepane
     STIPULATION AND ORDER TO CONTINUE SENTENCING
     CASE NUMBER: 1:07–CR-0268-OWW                                                          2
